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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            LUBBOCK DIVISION

                                       )
JAMES D’CRUZ, NATIONAL RIFLE           )
ASSOCIATION OF AMERICA, INC.,          )
                                       )
              Plaintiff,               )
                                       )                Case No. 5:10-cv-00141-C
                   v.                  )                Judge Sam R. Cummings
                                       )
STEVEN MCCRAW, in his official         )
capacity as Director of the Texas      )
Department of Public Safety, et al.,   )
                                       )
              Defendants.              )




 APPENDIX TO REPLY BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION TO
              ADD PARTIES AS PARTY-PLAINTIFFS


Respectfully submitted,


 s/ Fernando M. Bustos                     s/ Charles J. Cooper
 Fernando M. Bustos                        Charles J. Cooper*
 State Bar No. 24001819                    David H. Thompson*
 Zane J. Vaughn                            Peter A. Patterson*
 State Bar No. 24042087                    COOPER & KIRK, PLLC
 LAW OFFICES OF FERNANDO M. BUSTOS, P.C.   1523 New Hampshire Ave., NW
 P.O. Box 1980                             Washington, D.C. 20036
 Lubbock, TX 79408-1980                    Tel: (202) 220-9600
 Tel: (806) 780-3976                       Fax: (202) 220-9601
 Fax: (806) 780-3800                       Email: ccooper@cooperkirk.com
 Email: fbustos@bustoslawfirm.com          *Admitted pro hac vice.



                                       ATTORNEYS FOR PLAINTIFFS
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                             CERTIFICATE OF SERVICE


       On April 26, 2011, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all counsel and/or pro

se parties of record electronically or by another manner authorized by Federal Rule of

Civil Procedure 5 (b)(2).




                                                              s/ Charles J. Cooper
                                                              Charles J. Cooper
